      Case 1-19-44751-cec             Doc 16       Filed 09/09/19   Entered 09/10/19 09:39:10




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
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In re
                                                                        Case No. 19-44751-CEC
        1934 Bedford LLC,                                               Chapter 11

                           Alleged Debtor.
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                                   ORDER SCHEDULING HEARING

        WHEREAS, on August 2, 2019, an involuntary petition under chapter 11 of the
Bankruptcy Code was filed against 1934 Bedford LLC (the “Alleged Debtor”) by Simply
Brooklyn Realty, HTC Construction Management, Inc., and HTC Plumbing, Inc. (the
“Petitioning Creditors”); and

        WHEREAS, on August 23, 2019, 1930 Bedford LLC (the “Secured Creditor”) filed a
motion for an examination pursuant to Rule 2004 of the Federal Rules of Bankruptcy Procedure
(the “2004 Motion”) (ECF No. 7); and

        WHEREAS, on August 23, 2019, a proposed stipulation between the Alleged Debtor and
the Petitioning Creditors extending the Alleged Debtor’s time to respond to the involuntary
petition was filed (the “Extension Stipulation”) (ECF No. 9); and

        WHEREAS, on August 26, 2019, the Secured Creditor filed an objection to the Extension
Stipulation; and

      WHEREAS, on August 29, 2019, the Alleged Debtor filed an objection to the 2004
Motion;

        NOW, THEREFORE, it is

        ORDERED, that a hearing on the Extension Stipulation and the 2004 Motion will be held
on September 11, 2019 at 2:00 p.m. in Courtroom 3529 at the United States Bankruptcy Court
for the Eastern District of New York, 271-C Cadman Plaza East, Brooklyn, NY 11201.




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 Dated: Brooklyn, New York                                                  Carla E. Craig
        September 9, 2019                                           United States Bankruptcy Judge
